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                           PASKOWITZ LAW FIRM P.C.
                                FIRM RESUME

          The Paskowitz Law Firm PC specializes in class actions brought on behalf

    of shareholders and consumers, and has wide experience in antitrust matters,

    general business litigation, and shareholder’s derivative litigation. The Firm’s

    founder, Laurence Paskowitz, has been appointed lead or co-lead counsel in over

    300 securities and consumer class actions. He previously served as a partner in

    two law firms, and has represented a wide range of clients, from small

    shareholders to investment funds.

          In the consumer realm, the Firm has pursued class actions in cases

    involving “vanishing” life insurance premiums; overpriced foods; vitamin

    supplements that do not provide the benefits advertised; a conspiracy to raise the

    prices of glassware; misleading food packaging; surprise subscriptions for

    Internet services; and confusing privacy settings on Facebook. In September

    2020, the Firm and its co-lead counsel defeated a motion to dismiss by Whole

    Foods in a class action case seeking damages for consumers who purchased that

    company’s bottled water brand, which contains high levels of arsenic. Berke v.

    Whole Foods Mkt., No. CV 19-7471 PSG (KSx), 2020 U.S. Dist. LEXIS 184346

    (C.D. Cal. Sep. 18, 2020). In Press v. J Crew Group, Inc., pending in Ventura
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    County Superior Court, the Firm was co-lead counsel in a consumer action which

    in 2019 obtained a very substantial cash settlement for misled shoppers. The

    Firm and its co-lead counsel are currently prosecuting consumer actions

    concerning the practices of Whole Foods, Rite Aid, Natrol, LLC and Folgers

    Coffee.

             The Firm has enjoyed a number of recent successes. For example, in June

    2020, the Paskowitz Firm, and its Co-Lead Counsel, won a reversal of a District

    Court dismissal from the Third Circuit Court of Appeals, thus reviving claims

    that the proxy laws were violated in connection with a multi-billion dollar bank

    merger.       In another case, in March 2020, the Paskowitz Firm and its Co-Lead

    Counsel turned back a motion to dismiss a class and derivative suit seeking the

    return of over $80 million a public company allegedly looted from its subsidiary.1

    Also in 2020, the Firm was retained by investment manager Camac Fund, LP in

    connection with a multi-million dollar appraisal and shareholder oppression

    action pending in Connecticut Superior Court.

             The Firm is well known in the Delaware Chancery Court, where much of

    the nation’s business litigation is conducted.                  We were appointed Co-Lead

    Counsel by former Delaware Chief Justice Strine in a Delaware class action

    brought against Google, Inc. and its directors concerning a reclassification of


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        Berger v. Transcon. Realty Inv’rs, Inc., 2020 U.S. Dist. LEXIS 55556 (N.D. Tex. Mar. 31, 2020).

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    Google stock into voting and non-voting shares. Two days before trial, the action

    settled, for significant financial and therapeutic relief.     The settlement was

    approved on October 28, 2013. The Firm was also instrumental in achieving a

    $59 million settlement on behalf of Under Armour shareholders in a very similar

    case that was resolved in early 2016. In addition, the Paskowitz Law Firm was

    appointed Co-Lead Counsel by the Delaware Court of Chancery in In re

    Cablevision/Rainbow Media Tracking Stock Litigation, Cons. C.A. No. 19819,

    which resulted in an $8.25 million class settlement, which was approved in 2008.

    In 2015, acting as co-lead counsel in a derivative suit brought on behalf of Jakks

    Pacific Inc. in California federal court (but governed by Delaware law), the Firm

    achieved a settlement valued by plaintiffs’ expert as worth $20-40 million.

          The Firm has also had success in the Delaware federal District Court. As

    co-lead counsel in In re MBNA Corp. Derivative and Class Litigation, a case

    filed in the United States District Court for the District of Delaware, we secured

    $7 million in benefits in 2009. Additionally, we were appointed in January 2010

    by the United States District Court for the District of Delaware to serve as co-

    lead counsel in a shareholder’s derivative suit brought on behalf of Intel Corp.

    concerning approximately $2.7 billion paid by Intel in fines and settlements

    stemming from alleged antitrust law violations.          That action that led to a

    settlement    involving      important       corporate     governance     reforms.


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        The Firm welcomes cases that present novel issues of law. While at the

    predecessor firm of Abraham & Paskowitz, Mr. Paskowitz and his partner

    recovered $20 million in cash in an unprecedented “short swing” insider trading

    case--then the largest cash recovery ever achieved in a case of that nature.

    Steiner v. Williams, 2001 U.S. Dist. LEXIS 7097 (S.D.N.Y. May 31,

    2001)(“Here the shareholders...received a $20,000,000 benefit as a sole result of

    the diligence and sagacity of Plaintiff’s counsel.”).

          The Paskowitz Law Firm served as lead counsel or co-lead counsel in

    Steven Madden Corp. Derivative Litigation (achieving $8.6 million derivative

    settlement in action alleging unfair employment contract for CEO who was

    convicted of money laundering and securities fraud); and played a key role in

    achieving a $41 million settlement in In re New Power Secs. Litig, 02 CV 0550

    (SDNY), a case under Section 11 of the 1933 Securities Act where the firm

    actively represented the Co-Lead Plaintiff.

          We also served as lead counsel in Berger v. Scharf, a class action pending

    in New York Supreme Court on behalf of shareholders who were harmed when

    the directors breached their fiduciary duties by voluntary de-listing the

    company’s public shares.      In that case, prior to a successful settlement, we

    prevailed on a motion to dismiss in a decision which made new law regarding

    shareholder rights. Berger v. Scharf, 2006 N.Y. Misc. LEXIS 674 (N.Y. Sup.


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     Mar. 29, 2006).

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           Mr. Paskowitz graduated from Hofstra Law School in 1983 with highest

     honors, after serving as an editor of the Hofstra Law Review. He began his

     career at what was then Pomerantz Levy Haudek & Block (now Pomerantz LLP),

     a firm founded by the late Abraham Pomerantz, who was often referred to as “the

     father of the shareholder class action.” During his tenure there as an associate

     from 1983-89, Mr. Paskowitz played a principal role in a variety of cases

     involving tender offers, mergers, securities fraud, and antitrust law.

           Mr. Paskowitz joined Wolf Popper Ross Wolf & Jones in 1989 (now Wolf

     Popper, LLP), became a partner in 1991, and then Chairman of the Corporate and

     Commercial Litigation Department in 1995. Wolf Popper is one of the most

     prominent national firms specializing in shareholder and consumer rights, and

     complex corporate litigation. While there, Mr. Paskowitz served as lead counsel

     or co-lead counsel on more than two dozen shareholder actions, including class

     and derivative actions involving excessive compensation. Mr. Paskowitz won

     settlements of $12 million derivatively on behalf of Brooke Group, Inc., a similar

     amount for Citizens Utilities Corp., and $9 million for Lin Broadcasting Corp.

     Mr. Paskowitz also played a leading role in obtaining class action settlements in

     securities fraud actions against Tenneco Corp. ($50 million settlement);


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     McDonell Douglas Equipment Leasing Securities Litigation ($35 million

     recovery); Valley National Corp. ($10 million settlement); and Security Pacific

     Corp. ($9 million settlement).     From 1997-2000, Mr. Paskowitz was a sole

     practitioner, who continued to specialize in shareholder litigation. During this

     period, he was among a team of lawyers who initiated the shareholder litigation

     over the collapse of USN Communications, an action which was resolved for $45

     million.

           In 2000, Mr. Paskowitz formed the firm of Abraham & Paskowitz. During

     his tenure at that firm, Mr. Paskowitz served as lead or co-lead counsel for cases

     that achieved substantial recoveries, including In re Netcreations Shareholder

     Litigation (improvement in buyout price of $12 million for class of investors) and

     In re CSFBdirect Shareholders Litigation (shareholders who objected to unfair

     tender offer price paid $36 million more for their shares pursuant to settlement).

           The Firm’s experience has included antitrust class actions involving

     products such as copper tubing, flat glass, compact discs, shipping rates, internet

     advertising, and various other matters.

           Mr. Paskowitz has published articles that have appeared in the Hofstra

     Law Review and The New York Law Journal, and has been a member of the New

     York State Bar Association Committee on Class Actions. Mr. Paskowitz has

     been admitted to the U.S. District Courts for the Southern and Eastern Districts of


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     New York, the District of Arizona, and the Federal Courts of Appeals for the

     Second, Third, Fifth and Eighth Circuits. He has practiced before federal and

     state courts throughout the country, and before the Judicial Panel on Multidistrict

     Litigation.




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